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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS


VIRGINIA INNOVATION SCIENCES,
INC.,

              Plaintiff,
                                                 Civil Action No.4:18-cv-00474-ALM
       v.
                                                 JURY TRIAL DEMANDED
AMAZON.COM, INC.,

              Defendant.



                             NOTICE OF RELATED DECISION

       Pending before this Court is the motion to substitute Innovation Sciences LLC as party

plaintiff, replacing Virginia Innovation Sciences, Inc. See Doc. 22 (filed November 29, 2018).

On January 29, 2019, the Court of Appeals for the Federal Circuit granted a similar motion in the

action pending before it over the objections of Amazon.com, Inc. A copy of that Order is

attached.

       Defendant Amazon.com, Inc. does not join, but does not oppose, this submission.


Date: February 1, 2019                           Respectfully submitted:

                                                 /s/ Donald L. Jackson
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                               CERTIFICATE OF SERVICE

       I hereby certify that all counsel of record who are deemed to have consented to electronic

service are being served with a copy of this document via the Court’s CM/ECF system per Local

Rule CV-5(a)(3).



DATED: February 1, 2019                             /s/ Donald L. Jackson
                                                    Donald L. Jackson
